                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  S.B., a minor student, by and through his parents,   )
  M.B. and L.H. et al.,                                )
                                                       )
          Plaintiffs,                                  )
                                                       )
  v.                                                   )   No. 3:21-CV-00317-JRG-DCP
                                                       )
  GOVERNOR BILL LEE, in his official capacity          )
  as Governor of Tennessee, and KNOX COUNTY            )
  BOARD OF EDUCATION,                                  )
                                                       )
          Defendants.                                  )

                                              ORDER

          This matter is before the Court on Plaintiffs’ and Defendant Knox County Board of

  Education’s Joint Motion to Dismiss the Knox County Board of Education with Prejudice. [Doc.

  131]. The motion is GRANTED. The claims against the Knox County Board of Education are

  hereby DISMISSED with prejudice, and the preliminary injunction [Doc. 48] against the Knox

  County Board of Education is hereby DISSOLVED. The settlement agreement [Doc. 131-1] is

  APPROVED. All outstanding motions—except Plaintiffs’ Motion for Attorneys’ Fees and

  Costs [Doc. 87], to the extent it applies to Defendant Governor Bill Lee only, and Governor

  Lee’s Motion to Dismiss for Lack of Subject Matter Jurisdiction [Doc. 90]—are DENIED as

  moot.

          So ordered.

          ENTER:



                                                      s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE




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